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    EXHIBIT 15
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       bp
                                                                                              o
                                                                 BP Exploration & Production Inc.
                                                                 200 Westlake Parle Boulevard
                                                                 Houston. Texas 77079
                                                                 USA

       February 23, 2009

       US Environmental Protection Agency
       Water Enforcement Branch
       c/o: Ms. Sharon Haggard (6EN-WC)
       ]445 Ross Avenue, Suite 1200
       Dallas, TX 75202-2733

       RE:    NOI Form for NPDES OCS Pennit No. GMG29011O; BP Exploration &
              Production, Inc.

       Dear Director:

       Enclosed please find a Notice of Intent for BP Exploration & Production Inc., NPDES
       OCS Permit No. GMG290110. The NOI is to request coverage on lease block Mississippi
       Canyon 252.

       Please call me at 281-366-8290 or email meatcarlos.moreno@bp.comifyou have any
       questions.


       Sincerely,


     (~;f{~_
       Carlos J.iMlre~ol "-<:
       BP GoM Water Specialist




                                                                  Ex. 15
                                                                  Letter from Carlos J. Moreno, Water Specialist, BP
                                                                  GoM, to U.S. EPA (Feb. 23, 2009).
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                                        Notice of Intent for the Offshore SUbcategory of u.s. EPA Region 6


oEPA                                    the Oil and Gas Extraction Point Source Category Offshore General Permits

                                        Shelf of the Gulf of Mexico (GMG290000).
                                                                                         Mail Code 6EN-WC
                                        for the Western Portion of the Outer Continental 1445 Ross Ave., Suite 1200
                                                                                         Dallas, TX 75202-2733 :
Submission of thiscompleted Notice of Intent (NOI) constitutes notice that the entity in Section B intends to be authorized to lflSCharge ponUlants to Fed·
eral waters of the Gulf of Mexico seaward of the outer bounda.y of the territorial seas offshore of Louisiana and Texas (72 feU, Beg. No. 109, p. 31575,
October 1. 2007. www.epa.govlregi0n6l6wql6wq.hlm. Submission of the NOI also consliMes notice that the party identified in Section B of this form has
read, understands. and meets the eligibility conditions in the RegUlated Entities section of the Fmal General Permit for the above mentioned permit; agrees
to comply with an applicable terms and conditions of the General Permit. In order to be granted coverage, alIlnformalion reqUired on this form-must be
completed unless designated as optional Please read and make sure you comply with all permit requirements.
Section A: Permit Selection
 Permit Number assigned to your faciiity under the previous or existing permit: GMG290 110                                            DNot Assigned
Section B: Facility Legal Name and Address of Operator
  1. Operator Name: BP Exploration & Production Inc.
     Contact Name (optional): Carlos J. Moreno
     PhoneNumber&e-mail(optional): 281-366-8290; carlos.moreno@bp.com
  2. Mailing Address (Street or PO Box): 200 WestLake Park Blvd., WL4-401B
  3. City: Houston                                State: TX   Zip Code: 77 07 9                                                             -
Section C: Mobile Offshore Drilling Units (MODUs):
  Are you a MODU to which maintenance waste requirements apply, but not cooling water                                            laNo           DYes
  intake? If yes, you will receive an outfall number for the Maintenance/Sandblasting Waste.

       Are you a MODUto which cooling water intake requirements apply? If yes, you will receive an                               laNo           DYes
       outfall number for-Cooling Water Intake.
section 0: NeYiSOurce
  NOI must identify any facility which is a New Source and state the date on which the facility's protection from more stringent
  new source performance standards or technology based limitations ends. That date is the soonest of ten years from the date
 that construction is completed, ten years from the date the source begins to discharge process or oolH:Ollstruction related
  wastewater, or the end of the period of depreciation or amortization of the facility for the purposes of section 167 or 169 (or
  both) of the Intemal Revenue Code of 1954. See 58 fed. Beg. No. 12504 and 61 fed. Beg. No. 66085 for more information.
  New Source: DYes Date:                                                    laNo
Section E: Cooling Water Intake
 For lease areaslblocks in Section G (and on any subsequent pages) in which "Y" for "yes" was indicated, Part I.A.2. of the
 permit states: "These are new facilities in which construction was commenced after July 17, 2006, with a cooling water intake
 structure having a design intake capacity of greater than 2 million gallons of water per day, of which at least 25% is used for
 cooling purposes. Please see the attached for supplemental information, as required by Part 1.A.2. of the permit."
Section F: Synthetic Based Muds (SBMs)
 Part I.B.2.c authorizes S8Ms. However, operators will only be assigned an S8M outfall number where "Y" for "yes" is
 indicated under Section G.
Section G: See page 2 for Section G
Section H: Certification
 I certify under penalty of law that this document and all attachments were prepared under my direction or supervision
 in accordance with a system designed to assure that qualified personnel properly gather and evaluate the information
 submitted. Based on my inquiry of the person or persons who manage the system, or those persons directly responsible
 for gathering the information, the information submitted is, to the best of my knowledge and belief, true, accurate, and
 complete. I am aware that there are significant penalties for submitting false information, including the possibility of fine
 and imprisonment for knowing violations.
   Print Name: Neil Shaw
   Signature:      I\L';(..". /                                                      Date (mm/dd/yyyy): 02                    7. 23        I 2009
   1itle:~pnior Vice '~~nt
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v2_ Modified January 22. 2008 by EPA Region 6 for use with the general perm~ referenced above. Copies of this form may be obtained on the Internet at:
http://www_epa.govlregion6l0ffshore_
                                                               Page 1 of 2                      Permit Expires Midnight september 30,2012
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 A        EPA.
   .-. -' ..
          .    -     ..-
                                   Notice ollnlent lor the Ollshore Subcategory of u.s. EPA Region 6
                                   the Oil and Gas Extraction Point Source Category Offshore General Permits
                                                                                    Mail Code 6EN-WC
                                   for the Western Portion of the Outer Continental 1445 Ross Ave., Suite 1200
                                   Shelf of the Gulf of Mexico (GMG290000).         Oallas,TX 75202-2733
Section G: List of lease areaslblock numbers assigned              by the Department of Interior or the State. If none, the name
commonly assigned to the lease area.                                                                                .-
                                 Maint- Cooling                                                            Maint- COOling
                                 enance Water                                                              ~nce Water
                                 Waste Intake SSM EPA                                                      Waste Intake SSM        EPA
                                  YIN    YIN YIN  Use                                                       YIN    YIN    YIN      Use


   Mississippi Canyon 252                y      N      Y




   00 not abbreviate lease area names. For additional lease areaJblocl<s, please list the names on another page with the



                                                                                          -
   certification statement at the bottom, signature of authorized official, and date.



 I
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This form is an optional form prepared
to assist apf'icants in the completion of
the Notice 0 Intent for the EPA Region 6
                                                      Il...-I ~t I C>
                                                 data will have to be requested and sub-
                                                 milled prior to coverage.

Western Outer Continental Shelf National Note Well: You will only receive sandblast-
Pollutant Discharge Elimination System           iog! maintenance waste; SBM, and/or
                                                                                                                ---- =-
                                                                                                  ating and directing other comprehensive
                                                                                                  measures to assure long term environ--
                                                                                                  mental compliance with environmental
                                                                                                  laws and regulations; the manager can
                                                                                                  ensure that the necessary systems are
permit [72 fed. Beg. No. 109, p. 31575,          Cooling Water Intake outfall numbers,            established or actions taken to gather
October 1, 2007, in accordance with              and corresponcli~ Discharge Monitor-             complete and accurate information for
Part 1.A.2. of the permit. The /heneral permit   ing Report forms. or those lease areas!          permit application requirements; and
language can be found on e internet at           blocks so marked as "yn for "yes· on the         where authority to sign documents has
www.epa.gov!region6l6wql6wq.htm. Opera-          NOlform.                                         been assigned or delegated to the man-
tors covered under the previous general                                                           ager in accordance with corporate pro-
permit are automatically extendedpermit cov- NOI Certification:                                   cedures.
erage without taking any action, and will retain
tl)e. same. NPDES permit number. Additional      Federal statutes provide fwseVl')re pen,          Foraparlne~t!ipQrsoleproprieto~hip.
guidance on this P8nnii may be found .on the     allies •forSulJmitti~ false .•. infonnation       By a general partner or the proprietor,
intemet at v,ww.epa.govlregion6l0ffshore.        on this application •orm. Federalf~u-             respectively; or
                                                 lations at 40 CFR 122.22 require t is
When to File the NOI Form:                       application to be signed as follows:            For a municipality, State. Federal, or
                                                                                                 other public agency. By either a princi-
     Administratively complete NOls will be         For a corporation. Bya responsible cor-      pal executive officer or ranking elected
     granted permit coverage effective on           porate officer. For the purpose of this      official. For purposes of this section. a
     midnight of the postmark date.                 section. a responsible corporate officer     principal executive officer of a Federal
                                                    means: (i) A president, secretary, !rea-     agency includ~s: til The chief execu-
Where to File the NOI Form:                         surer, or vice-president of the corpora-     tive officer of tbe agency, or (ii) a senior
                                                    tion in charge of a principal busmess        executive officer having responsibil-
     U.s. EPA Region 6                              function, or any other person who per-       ity for the overall operations of a prin-
     Water Enforcement Branch (6EN-We)              foms similar policy- or decision-making      Ctpal geographic unit of the agency
     1445 Ross Ave., Suite 1200                     functions for the corporation. or (iiI the   (e.g., Regional Administrators of EPA).
     Dallas, TX 75202-2733                          manager of one or more manufactur·
                                                    ing, production, or operating facilities, Who is Not Authorized Under This General
Completing the NOI Form:                            provided, the manager is authorized          Permit:
                                                    to make management decisions which
     Please ensure all sections and require-        ra:vern the operation of the regUlated       Facilities which adversely affect prop-
     ments of this NOlform have been com·            acility includi~ having the explicit or     erties listed or eligible for listing in the
     pleted. Failure to submit a completed          implicit duty 0 making major c?pital         National Register of Historic Places.
     NOI will delay coverage as the omitted         investment recommendations, and Initi-
                                                            Page 2 of 2
